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UN|TED STATES OF AMER|CA CLB?%US' %UW%H

P|aintiff

VS.
CR. NO. 05-20107-D

JERE|V||AH COLL|NS

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

report date of Thursday, Se|:_)tember 22, 2005, at 9:00 a.m., in Courtroom 3 9th F|oor
of the Federal Bui|ding, |V|emphis, TN.

 

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT is so oRDERED this ._.25 day of July, 2005.

§RN|CE B. DONALD

UN|TED STATES D|STR|CT JUDGE

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UNITED SATE ISTRICT COURT - W"RTE DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

